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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
               UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                 V.                                   (For Offenses Committed On or After November 1, 1987)
                   ROXANNE ELKASSIS (2)
                                                                         Case Number: 3:20-CR-02253-LAB

                                                                      Jason T. Conforti
                                                                      Defendant’s Attorney
USM Number                       97474-298
    _
☐
THE DEFENDANT:
☒ pleaded guilty to count(s)          1 of the Superseding Information

☐ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

    Title and Section / Nature of Offense                                                           Count
    21:952,960 ‐ Importation of Fentanyl (Felony)                                                   1s




    The defendant is sentenced as provided in pages 2 through                   4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☒ Count(s) Underlying Indictment                                is          dismissed on the motion of the United States.

☒ Assessment: $100.00 - waived
        _

☐ JVTA Assessment*: $
  -
        *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
☒ No fine                      ☐ Forfeiture pursuant to order filed                                              , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                      February 28, 2022
                                                                      Date of Imposition of Sentence



                                                                      HON. LARRY ALAN BURNS
                                                                      UNITED STATES DISTRICT JUDGE
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   DEFENDANT:               Roxanne Elkassis (2)                                                         Judgment - Page 2 of 4
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                                                       PROBATION
The defendant is hereby sentenced to probation for a term of:
5 YEARS

                                            MANDATORY CONDITIONS
1. The defendant must not commit another federal, state or local crime.
2. The defendant must not unlawfully possess a controlled substance.
3. The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
    controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
    two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
    than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.
          ☐The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
             risk of future substance abuse. (check if applicable)
4. ☐The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
    a sentence of restitution. (check if applicable)
5. ☒The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6. ☐The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
    20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
    the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. (check if
    applicable)
7. ☐The defendant must participate in an approved program for domestic violence. (check if applicable)
8. The defendant must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9. If this judgment imposes a fine, the defendant must pay in accordance with the Fine sheet of this judgment.
10. The defendant must notify the court of any material change in their economic circumstances that might affect their ability
    to pay restitution, fines, or special assessments.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




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                                      STANDARD CONDITIONS OF SUPERVISION
As part of the defendant’s probation, the defendant must comply with the following standard conditions of supervision.
These conditions are imposed because they establish the basic expectations for the defendant’s behavior while on
supervision and identify the minimum tools needed by probation officers to keep informed, report to the court about,
and bring about improvements in the defendant’s conduct and condition.

1. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
   hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
   office or within a different time frame.

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
   about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
   as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
   getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
   anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
   unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
   expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
   permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
   view.

7. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
   time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
   defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
   due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
   change or expected change. As an alternative to employment as described in this condition, the defendant may seek and
   maintain full time schooling or a combination of employment and schooling.

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
   knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
   first getting the permission of the probation officer.

9. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

10. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
    as nunchakus or tasers).

11. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12. If the probation officer determines the defendant poses a risk to another person (including an organization), the probation
    officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
    The probation officer may contact the person and confirm that the defendant notified the person about the risk.

13. The defendant must follow the instructions of the probation officer related to the conditions of supervision.


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                                      SPECIAL CONDITIONS OF SUPERVISION
1.   Submit to a search of person, property, house, residence, office, vehicle, papers, cellular phone, computer or other electronic
     communication or data storage devices or media effects, conducted by a United States Probation Officer or any federal, state, or
     local law enforcement officer, at any time with or without a warrant, and with or without reasonable suspicion. Failure to submit
     to such a search may be grounds for revocation; you shall warn any other residents that the premises may be subject to searches
     pursuant to this condition.
2.   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
3.   Not enter or reside in the Republic of Mexico without permission of the court or probation officer.
4.   Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as directed by the probation
     officer. Allow for reciprocal release of information between the probation officer and the treatment provider. Submit to drug
     testing three times a month for one year. The probation officer may modify or eliminate testing after one year if no dirty tests are
     reported. The defendant must not use or possess marijuana under any circumstances.
5.    Participate in a cognitive behavioral treatment program as directed by the probation officer, and if deemed necessary by the
     probation officer. Such program may include group sessions led by a counselor, or participation in a program administered by the
     probation office. May be required to contribute to the costs of services rendered in an amount to be determined by the probation
     officer, based on ability to pay.
6.   Seek and maintain full time employment and/or schooling or a combination of both.
7.   Enroll in and successfully complete the six-month residential drug treatment program at Serenity House as directed by the
     probation officer. Obey all the rules at the program.
8.   Resolve all outstanding warrants.




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